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                    IN THE UNITED STATES DISTRICT COURT FOR THE

                            EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA, )
                              )                   No. Cr. S-01-180 LKK
                  Plaintiff,  )
                              )
            v.                )                   ORDER DISMISSING INDICTMENT
                              )                   AS TO DEFENDANT KEITH ANDERSON
KEITH ANDERSON,               )                   WITHOUT PREJUDICE
                              )
                  Defendant.  )
______________________________)

      The United States has moved pursuant to Rule 48(a) of the Federal Rules of Criminal
Procedure for leave to dismiss the Indictment as to defendant Keith Anderson without prejudice.
Good cause having been shown, leave to dismiss the Indictment as to defendant Keith Anderson is
GRANTED, and the Indictment is hereby DISMISSED as to Keith Anderson without prejudice.


DATED: April 29, 2005.                            /s/Lawrence K. Karlton
                                                  HON. LAWRENCE K. KARLTON
                                                  Senior U.S. District Court Judge
